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                   IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI


IN RE: CHRISTOPHER J. THOMAS                                         CASE NO: 14-10132
       DEBTOR                                                        CHAPTER 13



                    RESPONSE TO TRUSTEE'S MOTION TO DISMISS



       COMES NOW, the Debtor, Christopher J. Thomas and files this his Response to the

Trustee's Motion to Dismiss showing the court as follows:

       The Debtor respectfully requests that his Chapter 13 not be dismissed. That he admits he

is behind but will be able to catch up the payments and complete the plan. And he had just cause

for his plan payments to get behind. The Debtor will send in the delinquent amount by the due

date of April 22, 2019.

       WHEREFORE, the Debtor requests that the court deny the Trustee's Motion to Dismiss

and that he be allowed to catch up his payments and for such other and further relief that this

court deems just and proper under the circumstances.

                                                       Respectfully submitted,

                                                       Christopher J. Thomas



                                                       BY: __/s/ R. Gawyn Mitchell______
                                                          R. GAWYN MITCHELL, 3383
                                                          Attorney at Law
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                                CERTIFICATE OF SERVICE


       I, R. Gawyn Mitchell, Attorney for the Debtor, hereby certify that I electronically filed the

foregoing Response to the Trustee’s Motion to Dismiss with the Clerk of the Court, using the

ECF system, which sent electronic notification of such filing to Terre M. Vardaman,

VARDAMAN13ECF@gmail.com, Chapter 13 Trustee, and the United States Trustee,

USTPRegion05.AB.ECF@usdoj.gov.


       DATED: April 4, 2019



                                                     __/s/ R. Gawyn Mitchell_____
                                                      R. GAWYN MITCHELL
                                                      Attorney at Law

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